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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATION                            §
TECHNOLOGY, LLC                                 §
                                                §
       v.                                       §          Case No. 2:23-cv-419-JRG-RSP
                                                §
VALVE CORPORATION, GEARBOX
SOFTWARE, LLC

                                    DISCOVERY ORDER

       After a review of the pleaded claims and defenses in this action, in the above captioned

case between Plaintiff Symbology Innovations, LLC and Defendants Valve Corporation and

Gearbox Software, LLC, in furtherance of the management of the Court’s docket under Federal

Rule of Civil Procedure 16, and after receiving the input of the parties to this action, it is

ORDERED AS FOLLOWS:

1.1.   Initial Disclosures. In lieu of the disclosures required by Federal Rule of Civil Procedure

       26(a)(1), each party shall disclose to every other party the following information:

       (a)    the correct names of the parties to the lawsuit;

       (b)    the name, address, and telephone number of any potential parties;

       (c)    the legal theories and, in general, the factual bases of the disclosing party’s claims

              or defenses (the disclosing party need not marshal all evidence that may be offered

              at trial);

       (d)    the name, address, and telephone number of persons having knowledge of relevant

              facts, a brief statement of each identified person’s connection with the case, and a

              brief, fair summary of the substance of the information known by any such person;

       (e)    any indemnity and insuring agreements under which any person or entity carrying

              on an insurance business may be liable to satisfy part or all of a judgment entered
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              in this action or to indemnify or reimburse for payments made to satisfy the

              judgment;

       (f)    any settlement agreements relevant to the subject matter of this action; and

       (g)    any statement of any party to the litigation.

2.2.   Disclosure of Expert Testimony. A party must disclose to the other parties the identity

       of any witness it may use at trial to present evidence under Federal Rule of Evidence 702,

       703 or 705, and:

       (a)    if the witness is one retained or specially employed to provide expert testimony in

              the case or one whose duties as the party’s employee regularly involve giving expert

              testimony, provide the disclosures required by Federal Rule of Civil Procedure

              26(a)(2)(B) and Local Rule CV-26; and

       (b)    for all other such witnesses, provide the disclosure required by Federal Rule of Civil

              Procedure 26(a)(2)(C).

3.3.   Additional Disclosures. Without awaiting a discovery request,1 each party will make the

       following disclosures to every other party:

       (a)    provide the disclosures required by the Patent Rules for the Eastern District of

              Texas with the following modifications to P.R. 3-1 and P.R. 3-3:

                 i.   If a party claiming patent infringement asserts that a claim element is a

                      software limitation, the party need not comply with P.R. 3-1 for those claim

                      elements until 30 days after source code for each Accused Instrumentality

                      is produced by the opposing party. Thereafter, the party claiming patent



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  The Court anticipates that this disclosure requirement will obviate the need for requests for
production.



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                      infringement shall identify, on an element-by-element basis for each

                      asserted claim, what source code of each Accused Instrumentality allegedly

                      satisfies the software limitations of the asserted claim elements.

                ii.   If a party claiming patent infringement exercises the provisions of

                      Paragraph 3(a)(i) of this Discovery Order, the party opposing a claim of

                      patent infringement may serve, not later than 30 days after receipt of a

                      Paragraph 3(a)(i) disclosure, supplemental “Invalidity Contentions” that

                      amend only those claim elements identified as software limitations by the

                      party claiming patent infringement.

       (b)    produce or permit the inspection of all documents, electronically stored

              information, and tangible things in the possession, custody, or control of the party

              that are relevant to the pleaded claims or defenses involved in this action, except to

              the extent these disclosures are affected by the time limits set forth in the Patent

              Rules for the Eastern District of Texas; and

       (c)    provide a complete computation of any category of damages claimed by any party

              to the action, and produce or permit the inspection of documents or other

              evidentiary material on which such computation is based, including materials

              bearing on the nature and extent of injuries suffered, except that the disclosure of

              the computation of damages may be deferred until the time for Expert Disclosures

              if a party will rely on a damages expert.

4.4.   Protective Orders. The Court will enter the parties’ Agreed Protective Order.

5.5.   Discovery Limitations. The discovery in this cause is limited to the disclosures described

       in Paragraphs 1-3 together with:




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     (a)   For the purposes of this section (Section 5 – Discovery Limitations), Plaintiff

           Symbology Innovations Technology, LLC shall count as a “side” and Defendants

           Valve Corporation (“Valve) and Gearbox Software, LLC (“Gearbox”) shall count

           as a side.

     (b)   For the purposes of this section, the discovery limitations shall apply to the total

           amount of discovery requested collectively.

     (c)   Interrogatories: Each side may serve up to 30 interrogatories on the other side. Of

           the Defendants’ 30 interrogatories, the Defendants may serve 10 collective

           interrogatories, and each of Valve and Gearbox may serve 10 individual

           interrogatories. If either Defendant is removed from the case, the remaining

           Defendant may serve 30 total interrogatories on Plaintiff.

     (d)   Requests for Admission: There is no limit to the number of requests for admission

           the parties may serve to establish the authenticity of documents. Each side may

           serve up to 50 requests for admission on the other side. Of the Defendants’ 50

           requests for admission, the Defendants may serve 20 collective requests for

           admission, and each of Valve and Gearbox may serve 15 individual requests for

           admission. If either Defendant is removed from the case, the remaining Defendant

           may serve 50 total requests for admission on Plaintiff.

     (e)   Depositions

           1.      Experts. An expert that provides a written report on more than one issue (for

                   example, invalidity and non-infringement) or on more than one opposing

                   party will be considered to have provided separate expert reports per issue,

                   per opposing party. An expert who submits one report on behalf of a side




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                    may be deposed for 7 hours by the opposing side regarding one report. An

                    expert who submits more than one report on behalf of a side for one of the

                    above actions may be deposed for an additional 3 hours per additional

                    report.

            2.      Depositions of Parties and their Personnel. Each party may take up to 70

                    hours of party depositions, including both 30(b)(6) and 30(b)(1)

                    depositions.

            3.      Third Party Depositions. Each side may take up to 15 hours of depositions

                    of deponents who are not covered by (e)(1)–(2) above.

            4.      The limitations set forth in Fed. R. Civ. P. 30(d) apply to all depositions.

6.   Privileged Information.       There is no duty to disclose privileged documents or

     information. However, the parties are directed to meet and confer concerning privileged

     documents or information after the Status Conference. By the deadline set in the Docket

     Control Order, the parties shall exchange privilege logs identifying the documents or

     information and the basis for any disputed claim of privilege in a manner that, without

     revealing information itself privileged or protected, will enable the other parties to assess

     the applicability of the privilege or protection. Any party may move the Court for an order

     compelling the production of any documents or information identified on any other party’s

     privilege log. If such a motion is made, the party asserting privilege shall respond to the

     motion within the time period provided by Local Rule CV-7. The party asserting privilege

     shall then file with the Court within 30 days of the filing of the motion to compel any proof

     in the form of declarations or affidavits to support their assertions of privilege, along with

     the documents over which privilege is asserted for in camera inspection.




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7.7.   Signature. The disclosures required by this Order shall be made in writing and signed by

       the party or counsel and shall constitute a certification that, to the best of the signer’s

       knowledge, information and belief, such disclosure is complete and correct as of the time

       it is made. If feasible, counsel shall meet to exchange disclosures required by this Order;

       otherwise, such disclosures shall be served as provided by Federal Rule of Civil Procedure

       5. The parties shall promptly file a notice with the Court that the disclosures required under

       this Order have taken place.

8.8.   Duty to Supplement. After disclosure is made pursuant to this Order, each party is under

       a duty to supplement or correct its disclosures immediately if the party obtains information

       on the basis of which it knows that the information disclosed was either incomplete or

       incorrect when made, or is no longer complete or true.

9.9.   Discovery Disputes.

       (a)    Except in cases involving claims of privilege, any party entitled to receive

              disclosures (“Requesting Party”) may, after the deadline for making disclosures,

              serve upon a party required to make disclosures (“Responding Party”) a written

              statement, in letter form or otherwise, of any reason why the Requesting Party

              believes that the Responding Party’s disclosures are insufficient. The written

              statement shall list, by category, the items the Requesting Party contends should be

              produced. The parties shall promptly meet and confer. If the parties are unable to

              resolve their dispute, then the Responding Party shall, within 14 days after service

              of the written statement upon it, serve upon the Requesting Party a written

              statement, in letter form or otherwise, which identifies (1) the requested items that




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           will be disclosed, if any, and (2) the reasons why any requested items will not be

           disclosed. The Requesting Party may thereafter file a motion to compel.

     (b)   An opposed discovery related motion, or any response thereto, shall not exceed 7

           pages. Attachments to a discovery related motion, or a response thereto, shall not

           exceed 5 pages. No further briefing is allowed absent a request or order from the

           Court.

     (c)   Prior to filing any discovery related motion, the parties must fully comply with the

           substantive and procedural conference requirements of Local Rule CV-7(h) and (i).

           Within 72 hours of the Court setting any discovery motion for a hearing, each

           party’s lead attorney (see Local Rule CV-11(a)) and local counsel shall meet and

           confer in person or by telephone, without the involvement or participation of other

           attorneys, in an effort to resolve the dispute without Court intervention.

     (d)   Counsel shall promptly notify the Court of the results of that meeting by filing a

           joint report of no more than two pages. Unless excused by the Court, each party’s

           lead attorney shall attend any discovery motion hearing set by the Court (though

           the lead attorney is not required to argue the motion).

     (e)   Any change to a party’s lead attorney designation must be accomplished by motion

           and order.

     (f)   Counsel are directed to contact the chambers of the undersigned for any “hot-line”

           disputes before contacting the Discovery Hotline provided by Local Rule CV-

           26(e). If the undersigned is not available, the parties shall proceed in accordance

           with Local Rule CV-26(e).




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10.10. No Excuses. A party is not excused from the requirements of this Discovery Order because

       it has not fully completed its investigation of the case, or because it challenges the

       sufficiency of another party’s disclosures, or because another party has not made its

       disclosures. Absent court order to the contrary, a party is not excused from disclosure

       because there are pending motions to dismiss, to remand or to change venue.

11.11. Filings. Only upon request from chambers shall counsel submit to the court courtesy

       copies of any filings.

12.12. Proposed Stipulations by the Parties Regarding Discovery. None.

13.13. Standing Orders. The parties and counsel are charged with notice of and are required to

       fully comply with each of the Standing Orders of this Court. Such are posted on the Court’s

       website at http://www.txed.uscourts.gov/?q=court-annexed-mediation-plan. The substance

       of some such orders may be included expressly within this Discovery Order, while others

       (including the Court’s Standing Order Regarding Protection of Proprietary and/or

       Confidential Information to Be Presented to the Court During Motion and Trial Practice)

       are incorporated herein by reference. All such standing orders shall be binding on the

       parties and counsel, regardless of whether they are expressly included herein or made a

       part hereof by reference.




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